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                 EXHIBIT C
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                                                                            Review

    1       IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF OHIO
    2                 EASTERN DIVISION
                           - - -
    3     IN RE: NATIONAL              : HON. DAN A.
          PRESCRIPTION OPIATE          : POLSTER
    4     LITIGATION                   : MDL NO. 2804
                                       :
    5     This document relates to:    : Case No. 17-MD-2804
                                       :
    6     The County of Summit, Ohio   :
          Ohio et al. v. Purdue Pharma :
    7     L.P., et al., Case No.       :
          17-OP-45004                  :
    8                                  :
          The County of Cuyahoga v.    :
    9     Purdue Pharma Purdue Pharma :
          L.P., et al., Case No.       :
   10     18-OP-45090                  :
   11                       - - -
   12            - HIGHLY CONFIDENTIAL -
         SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   13
                               VOLUME I
   14                           - - -
                             May 9, 2019
   15
   16                 Videotaped deposition of
         CRAIG J. McCANN, Ph.D., CFA, taken
   17    pursuant to notice, was held at the law
         offices of Morgan Lewis & Bockius, LLP,
   18    1111 Pennsylvania Avenue, NW, Washington,
         D.C., beginning at 10:03 a.m., on the
   19    above date, before Michelle L. Gray, a
         Registered Professional Reporter,
   20    Certified Shorthand Reporter, Certified
         Realtime Reporter, and Notary Public.
   21
                                -   -   -
   22
                 GOLKOW LITIGATION SERVICES
   23        877.370.3377 ph | 917.591.5672 fax
                       deps@golkow.com
   24

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    1              Q.      Yep.

    2              A.      I'm just saying that you

    3    take the -- the data that we've prepped,

    4    and apply these formulas to it, you get

    5    particular results.

    6              Q.      And is that also true not

    7    only about whether those algorithms, the

    8    assumptions, are appropriate, but also

    9    true that you are not making any opinion

   10    as to whether they are legally required?

   11              A.      Right.     I think all of these

   12    issues are being handled by other

   13    experts.       I -- as you said a minute ago.

   14    And I didn't take it as a pejorative.

   15    I'm just serving as a calculator.

   16              Q.      And in this Paragraph 21 you

   17    use the -- the phrase "algorithms" to

   18    discuss what's being applied in

   19    Section 9.      But you also use the word

   20    "approaches" later I believe.

   21                      Are you saying the same

   22    thing?

   23                      So are -- in -- calling it

   24    algorithms here in Paragraph 21, are you

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    1              Q.      Anyone come to mind?

    2              A.      It would be -- it would be

    3    something like that list and perhaps

    4    more.

    5              Q.      Anyone in particular that

    6    you think you left out earlier that comes

    7    to mind?

    8              A.      No.

    9              Q.      Did you get any input on

   10    these five approaches from any of your

   11    discussions with current or former DEA

   12    agents?

   13              A.      No.

   14              Q.      Did you take any other step

   15    to verify with the DEA that any or all of

   16    these approaches are appropriate in this

   17    setting?

   18              A.      I'm sorry.      I don't know

   19    what you mean by any other, but I didn't

   20    do anything other than serve as the

   21    computer, you referred to me as earlier.

   22    I took these approaches and implemented

   23    them, applied them to the data.              That's

   24    what I did.

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